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           14                       IN THE UNITED STATES DISTRICT COURT
           15                    FOR THE CENTRAL DISTRICT OF CALIFORNIA,
           16                                    WESTERN DIVISION
           17
                 CHAMBER OF COMMERCE OF THE                     CASE NO. 2:24-cv-00801
           18    UNITED STATES OF AMERICA,
                 CALIFORNIA CHAMBER OF
           19    COMMERCE, AMERICAN FARM
                 BUREAU FEDERATION, LOS
           20    ANGELES COUNTY BUSINESS
                 FEDERATION, CENTRAL VALLEY                     PLAINTIFFS’ CORPORATE
           21    BUSINESS FEDERATION, and                       DISCLOSURE STATEMENT AND
                 WESTERN GROWERS ASSOCIATION,                   NOTICE OF INTERESTED
           22               Plaintiffs,                         PARTIES
           23          v.
           24    CALIFORNIA AIR RESOURCES
                 BOARD, LIANE M. RANDOLPH, in her
           25    official capacity as Chair of the California
                 Air Resources Board, and STEVEN S.
           26    CLIFF, in his official capacity as the
                 Executive Officer of the California Air
           27    Resources Board.
           28                     Defendants.
Gibson, Dunn &
 Crutcher LLP


                 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
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                 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
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             1         Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiffs Chamber of
             2   Commerce of the United States of America, California Chamber of Commerce,
             3   American Farm Bureau Federation, Los Angeles County Business Federation, Central
             4   Valley Business Federation and Western Growers Association each certifies that it
             5   does not have a parent corporation, and no publicly held corporation owns more than
             6   10% of its stock.
             7         Pursuant to Civil Local Rule 7.1-1, the undersigned counsel of record for
             8   Plaintiffs Chamber of Commerce of the United States of America, California Chamber
             9   of Commerce, American Farm Bureau Federation, Los Angeles County Business
           10    Federation, Central Valley Business Federation and Western Growers Association
           11    certifies that, as of this date, other than the named plaintiffs and their members, no
           12    other parties have a pecuniary interest in the outcome of this case.            These
           13    representations are made to enable the Court to evaluate possible disqualification or
           14    recusal.
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                 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
                  Case 2:24-cv-00801 Document 4 Filed 01/30/24 Page 4 of 4 Page ID #:44



             1   DATED: January 30, 2024           GIBSON, DUNN & CRUTCHER LLP

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                                                   Association
           12
           13                                      CHAMBER OF COMMERCE OF THE
                                                   UNITED STATES OF AMERICA
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           15                                      Tyler Badgley (pro hac vice forthcoming)
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                 PLAINTIFFS’ CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
